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                Exhibit A
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                Semiconductor Energy                   January 2004       1. The Company is required 10 pay licensing fees on
                  Laboraiory Co.. Ltd. (SELl                                     in. tallmcnl basis for using the technologies.
                                                   December· 2008         2. The Company is rcq1uired 'to pay royally fe1:s b.-,sed 011
                                                                               .a prc·dc1crmincd pcrccn1agc ofncl sales of the
                                                                                 related products for continuing use of exclusive
                                                                                 technology.


                Industrial Technology Research           1\lny 2002:      The Compr1ny is required to pay licensing foes on
                  Institute (ITRli                                           in~tallment basis for using me lechnologies.

                                                         Ma. 2009

                Mitsubishi Elcc1ric Corporation    i    ovcrnbcr 2002     The Company is required to pay licens,ing foes on
                  and Advanced Display Inc.                                  installment basis for using 1IH~ technologies.

                Hcwlcu • Packard Development           February '.!0(}4   The Company is required to pay licensing ICe.s 0 11
                  Company. LP. (!f Pl                                        instalhncnt basis fo.r 11sing 1flc technologies.

                (Juardian Industries, Corp.              f\lay 2006       1. The Company is required 10 pay licensing fees on
                                                                                 installment basis for using the tcch110logies.
                                                         April 201 1      2. The Company is req,llitC'() to pay royally fees oosed on
                                                                                .a prc-dcu:rmincd pcrccniagc of net sales of the
                                                                                 related products for continuing use ofi:xclusive
                                                                                 teehnology.


              Purchase ;\£!.rccment
                Corning Display Teclrno·logics           April 2005       I. Corning Taiwan will guarantee 10 supply materials of
                  Taiwan Co.. Lld l"Corning                   I                 TfT-1.CD to the Cornpan.y fbr (>generation
                  Tniwnn"l                              March 2011              fabrieati on.
                                                                          2. The Company is required to make prepayments on
                                                                                 in tallmcnt oosis to Corning Taiwan to deduciiblc
                                                                                 from subsequent pL1rchaS€.


5.   REL TED PA RTY TRAN
     41) Nam.c and relatioMhip:
                 Name o f related part,                                         Relationship with th e Company
Ta111ng Co.• Ltd.                                        The Company's major stock holder
Forwnrd Elc.>Ctrnnirs Co.• Ltd.                           An iiwes1cc accounted for under the equity method
Topp.an Chunghwa Electronics Co.• Ltd.                    An inwstee ucCQuntcd for under the equity method
Grand Catha. International ,\sse1 :'vlanag.cmcnt          A sub~idiary of the Company
  Co.• Ud.
Sintmnic Technology Jnc.                                  An investee of Grand Cathay l111ernmional Asse1 ManagenH?nt Co.• I.Id.
                                                            accoumcd for under ihc equity method
Ta111ng Chungai Prct:ioui:: :O.·lctals Co .• Ud.          Subsidiar. ofTalung Co.• Ud.
Tarnng Atherton Co.                                       Subsidiar. ofTalung Co.• Ltd.
Taiwan lelecommunicatkm Industry Co.. Ltd.                Subsidiar. ofTa1ung Co.• Ud.


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